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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
RCH/SK/EMR/PP/MED                                 271 Cadman Plaza East
F. #2019R00927                                    Brooklyn, New York 11201


                                                  July 5, 2022

By E-mail and ECF

Cesar DeCastro, Esq.
111 Fulton Street - 602
New York, NY 10038

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

                Pursuant to 18 U.S.C. § 3500, the government is disclosing to you the
enclosed material related to two potential witnesses. This production is marked “Protected
Material” and is subject to the terms of the Court’s February 18, 2020, Protective Order. See
Dkt. No. 19. The government will disclose additional § 3500 material related to these
witnesses as it becomes available and will produce § 3500 material regarding other witnesses
sufficiently in advance of trial.

                                                  Very truly yours,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:     /s/
                                                  Ryan C. Harris
                                                  Saritha Komatireddy
                                                  Erin M. Reid
                                                  Philip Pilmar
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cc: Clerk of Court (BMC) (via ECF)
